                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                  SOUTHEAST DIVISION

JAMIE KAUFMANN WOODS; SHARI LUEKEN, A MINOR,
BY AND THROUGH HER NEXT FRIENDS,
RALPH LUEKEN AND MARILYN LUEKEN; RALPH LUEKEN;
MARILYN LUEKEN; ERIKA TEASLEY, A MINOR,
BY AND THROUGH HER NEXT FRIENDS, PAUL
DOUGLAS ("DOUG") HOOVER JR., AND KATRINA L. HOOVER;
PAUL DOUGLAS ("DOUG") HOOVER JR.; KATRINA HOOVER;
TRACEY BRAZIL OZUNA, JESSICA DEBOI                                                 PLAINTIFFS

vs.                             Case No. Case No. 1:03CV00105CAS

BOB WILLS, AKA BOBBY RAY WILLS, AKA W. B. WILLS;
BETTY SUE WILLS; SAM GERHARDT, AKA S.L. GERHARDT;
DEBORAH GERHARDT, AKA DEBBIE GERHARDT,
DBA MOUNTAIN PARK BOARDING ACADEMY;
JULIE GERHARDT; SHARON GOODMAN; and ANDREA HILL
                                                                                DEFENDANTS

                                      PLAINTIFFS’ PRETRIAL


        Pursuant to the Court’s case management order, Plaintiffs submit witness and exhibit

lists, and other pretrial material.




  Judge                               Plaintiffs’ Attorney      Defendants’ Attorney
  Charles A. Shaw                     Oscar Stilley             John Briggs and Scott Killen
  Trial Date(s)                       Court Reporter            Courtroom deputy
  December 12, 2005                   Sue Moran




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A.      WITNESSES

1.      Jessica Deboi (Will testify)

2.      Erika Teasley (Will testify)

3.      Shari Lueken (Will testify)

4.      Jamie Kaufman Woods (Will testify)

5.      Tracy Ozuna (Will testify)

6.      Ralph Leuken

7.      Marilyn Leuken (Will testify)

8.      Jeffrey Kline (Will testify)

9.      Sam Gerhardt

10.     Deborah Gerhardt

11.     Bob Wills

12.     Betty Wills

13.     Kenda Landsverk (Will testify)

14.     Sharon Goodman

15.     Andrea Hill

16.     Julie Gerhardt

        Plaintiffs reserve the right to call other witnesses for purposes of impeachment, to call

any Defendant or witness listed by the Defendants, and Plaintiffs reserve the right to supplement

this list as necessary.



B.      EXHIBITS


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Plt Exh #   Description of Plaintiffs’ Exhibits                            Objection
                                                                           /Ruling
1.          Messenger May/June 2001
2.          Mountain Park Baptist Church and Boarding Academy
            Handbook - May 2000
3.          Photos of Hourly Staff
4.          Photos of Pastoral Staff
5.          Article Titled - The Past
6.          Article of Philosophy, Financial Info, etc.
7.          Palm Lane Corporation Information Sheet
8.          Photos of Palm Lane showing fencing
9.          Sunday Post Dispatch - News Articles - Reform Schools Find
            A Haven Here; Acting On Faith/Missouri’s Unregulated
            Reform Schools; Schools hail pastor as a hero who redeemed
            teens (Lester Roloff)
10.         Corrected Request and Order for Execution Garnishment or
            Sequestration
11.         Request and Order for Execution Garnishment or Sequestration
12.         Interrogatories to Garnishee
13.         Warranty Deed
14.         Four Seasons Cottages
15.         State Set to Remove 120 from Hattiesburg Home for Girls
16.         Deputies Seal Off Bethesda H0me: 120 Girls in State's Care
17.         Hearing Slated Today for Few Teens Remaining at Girls Home
18.         Home Rules Girls' Paddling Based on Biblical Principle
19.         Parents Seek Probe of Bethesda Takeover
20.         Bethesda to Change Little as Baptist Academy
21.         Judge Releases Records on Bethesda Takeover



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Plt Exh #   Description of Plaintiffs’ Exhibits                           Objection
                                                                          /Ruling
22.         Bethesda Takeover Sparks Debate Over Licensing
23.         Continuation : Bethesda Takeover Sparks Debate Over
            Licensing
24.         Bethesda Flap Unresolved
25.         Custody of Bethesda Runaway Unclear
26.         Head of Girls School Tries to Change Image
27.         State's Child Care Laws Said Weakest in US
28.         Letters Urge Allain to Halt Regulation of Church Homes
29.         Hattiesburg Girls Home Ordered to Open Records on Teens
30.         Trial to Start for Operator of Girls Home
31.         Former Resident of Girls Home Files Suit Against Operators
32.         Ex-Residents of Girls Home Tell of Paddlings, Hunger
33.         Continuation: Ex-Residents of Girls Home Tell of Paddlings
34.         Ex-Bethesda Home Girls Report Medical Problems, to Little
            Food
35.         Bethesda Spurs Mixed View on Church-State Separation
36.         FBI Begins Investigation Into Girls Home
37.         Suitz Resident was "Scarred" at Girls Home
38.         Baptists Refuse to Act on Closure of Bethesda
39.         Operator of Former Girls Home to Leave for Another Ministry
40.         Bethesda - The Proposed Settlement
41.         Farewell
42.         Welfare Head Calls Bethesda Policies "Abusive, Neglectful"
43.         Wills': Welfare Head's Statement "Not True"
44.         Minister Files $44 Million Bethesda Suit
45.         Continuation: Minister Files $44 Million Bethesda Suit
46.         Court Records Cite Deficiencies at Girls School

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Plt Exh #   Description of Plaintiffs’ Exhibits                           Objection
                                                                          /Ruling
47.         Church Home Operator Wants Restrictions Lifted
48.         Operator of Girls Home Challenges Court's Power
49.         Grand Jury Won't Halt Probe Into Girls' Home
50.         Court Upholds Charges in Bethesda Home Case
51.         State Weighs Oversight of Child Facilities
52.         Judge to Consider if Officials Immune from $44 Million

            Lawsuit
53.         Teen Slain at MO Bible School Ran By Former Mississippi
            Pastor
54.         Plot to Take Over School Led to Slaying of Student
55.         Jessica Brazil - Enrollment Application
56.         Jessica Brazil - Power of Attorney
57.         Jessica Brazil - Medication Log
58.         Jessica Brazil - Visitation Requests, Staff Follow-up Notes
59.         Jessica Brazil - General Enrollment Forms
60.         Shari Lueken - Enrollment Application
61.         Shari Lueken - Power of Attorney
62.         Shari Lueken - Medication Log
63.         Shari Lueken - Visitation Requests, Staff Follow-up Notes
64.         Shari Lueken - General Enrollment Forms
65.         Tracey Brazil - Enrollment Application
66.         Tracey Brazil - Power of Attorney
67.         Tracey Brazil - Medication Log
68.         Tracey Brazil - General Enrollment Forms
69.         Erika Teasley - Enrollment Application
70.         Erika Teasley - Power of Attorney


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 Plt Exh #        Description of Plaintiffs’ Exhibits                                    Objection
                                                                                         /Ruling
 71.              Erika Teasley - Medication Log
 72.              Erika Teasley - Visitation Requests, Staff Follow-up Notes
 73.              Erika Teasley - General Enrollment Forms
 74.              Erika Teasley - Drug Tests - Lab Corp of America/Toxicology
 75.              Erika Teasley - POA Revocation
 76.              Erika Teasley - Letters to family members
 77.              Jamie Kaufmann - Enrollment Application
 78.              Jamie Kaufmann - Power of Attorney
 79.              Jamie Kaufmann - Medication Log
 80.              Jamie Kaufmann - Visitation Requests, Staff Follow-up Notes
 81.              Jamie Kaufmann - General Enrollment Forms
 82.              Expert report of Dr. Kline
 83.              Expert report of Ben Corpus



Plaintiffs reserve the right to supplement their Exhibit List, and Plaintiffs reserve the

right to refer to exhibits offered by Defendants.




C.      DEPOSITIONS, INTERROGATORY ANSWERS, REQUESTS FOR ADMISSION

At this time, Plaintiffs have no excerpts that they intend to read into the record at trial.

However, Plaintiffs reserve the right to use deposition excerpts for purposes of impeachment

during witness examination. Plaintiffs also reserve the right to supplement their disclosure as

necessary.


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D.     JURY INSTRUCTIONS

       Submitted separately. Plaintiffs reserve the right to supplement with instructions related

to any claims now dismissed, or reinstated sua sponte or pursuant to motion of the Plaintiff.




E.     TRIAL BRIEF

       Submitted separately.




                                             By: /s/ Oscar Stilley
                                             Oscar Stilley, Attorney at Law
                                             7103 Racetrack Loop
                                             Fort Smith, AR 72916
                                             Attorney for Plaintiff
                                             479 996-4109
                                             479 996-3409 Fax
                                             oscar@oscarstilley.com



                               CERTIFICATE OF SERVICE

        I, Oscar Stilley, by my signature above certify that I have this November 22, 2005 served
the defendants with a copy of this pleading electronically by CM/ECF to: John Oliver, Attorney
at law, Oliver, Oliver, & Waltz, PO Box 559, Cape Girardeau, MO, 63702-0559; and John
Briggs, Attorney at law, Brown & James, P.C., 1010 Market Street, 20th Floor, St. Louis MO
63101-2000.




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